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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


ROBBIE OELSCHLAGER, individually,            )        Case No.   ------
                                             )
             Plaintiff,                      )
                                             )
      v.                                     )         COMPLAINT AND
                                             )       DEMAND FOR JURY TRIAL
EAR, NOSE & THROAT SPECIALTIES,              )
P.C., CHRIS A. CEDERBERG, M.D.               )
                                             )
             Defendants.                     )
                                             )
                                             )
                                             )


       COMES NOW the Plaintiff and for his Complaint states:

                                       The Parties

      1.      Plaintiff Robbie Oelschlager is a resident of Washington County, Kansas.

His address is 331 National Road, Palmer, Kansas.

       2.     Defendant Ear, Nose & Throat Specialties is a corporation organized and

existing under the laws of the State of Nebraska and provides medical services in Lincoln,

Lancaster County, Nebraska. Its address is 1500 S 48th St# 200, Lincoln, NE 68506.

       3.     Upon information and belief, Defendant Chris Cederberg, M.D. was at all

times material herein, a resident of Lincoln, Nebraska. At all times material herein, he was

also an otolaryngologist at Ear, Nose & Throat Specialties, acting within the course and

scope of his employment with Ear, Nose & Throat Specialties.

       4.     Alternatively, Defendant Ear, Nose & Throat Specialties, at all times material

herein, held out Defendant Chris Cederberg to the public, including Plaintiff Robbie

Oelschlager, as an actual employee of Defendant Ear, Nose & Throat Specialties.
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